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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
UNITED STATES OF AMERICA, et al.,         )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO, et al.,                )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                             AMENDED SCHEDULING ORDER

       As discussed during the Status Conference held on January 17, 2025, the court amends its

September 18, 2024 Scheduling Order, ECF No. 1043, as follows:

       A.      The Evidentiary Hearing shall be held April 21, 2025 to May 2, 2025, and May

               12, 2025 to May 15, 2025.

       B.      The parties’ post-hearing submissions shall be due by May 20, 2025.

       C.      Closing arguments shall be held on May 30, 2025. The court asks that the parties

               reserve May 29, 2025 as well, in the event additional time is needed.

       All other deadlines remain in full force and effect. Further information concerning the

parties’ post-hearing submissions shall be provided at a later date.
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Dated: January 20, 2025                        Amit P. Mehta
                                         United States District Judge




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